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       EXHIBIT A
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June 13, 2019

Division of Dockets Management
Food and Drug Administration
5630 Fishers Lane, Room 1061
Rockville, MD 20852

Re: Valisure Citizen Petition

Dear Sir or Madam:

The undersigned, on behalf of Valisure LLC and ValisureRX LLC (collectively, “Valisure” or
“Petitioner”), submits this Citizen Petition (“Petition”) pursuant to Sections 301(21 U.S.C. §
331), 501 (21 U.S.C. § 351), 502 (21 U.S.C. § 352), 505 (21 U.S.C. § 355), 702 (21 U.S.C. §
372), 704 (21 U.S.C. § 374), and 705 (21 U.S.C. § 375) of the Federal Food, Drug and Cosmetic
Act (the “FDCA”), in accordance with 21 C.F.R. 10.20 and 10.30, to request the Commissioner
of Food and Drugs (“Commissioner”) to issue a regulation, revise industry guidance, and take
such other actions set forth below.
                                            A. Action Requested

Valisure has tested and detected high levels of N,N-Dimethylformamide (“DMF”) in specific
lots of the drug valsartan, an angiotensin II receptor blocker (“ARB”). DMF is a chemical that
was reclassified in 2018 as a Group 2A probable human carcinogen by the World Health
Organization (“WHO”) and International Association for Research of Cancer (“IARC”).1 This
Petition requests that the Commissioner take the following actions:

      1) review and significantly lower the acceptable intake/permitted daily exposure limit of
         DMF, as listed in the current FDA guidance Q3C – Tables and List, Guidance for
         Industry, from its current level of 8,800,000 nanograms to less than 1,000 nanograms
         (and potentially as low as 96 nanograms);
      2) request a recall of identified lots of valsartan on the basis that, due to contamination with
         a probable human carcinogen, these drugs are adulterated under Section 501 of the FDCA
         (21 U.S.C. § 351) and misbranded under Section 502 of the FDCA (21 U.S.C. § 352);
      3) conduct examinations and investigation under Section 702 (a) of the FDCA (21 U.S.C. §
         372(a)) regarding these products, their manufacturing processes, and the manufacturer
         submissions made for FDA approval under 704 (a)of the FDCA (21 U.S.C. § 374(a)) and
         effect labeling revisions as needed;



1
 International Agency for Research on Cancer and World Health Organization, IARC Monographs on the
Identification of Carcinogenic Hazards to Humans, Volume 47, 71, 115 (2018) (https://monographs.iarc.fr/list-of-
classifications-volumes/).
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      4) provide information to the public regarding these products under Section 705(b) of the
         FDCA (21 U.S.C. § 375(b)); and
      5) promulgate regulations requiring robust independent chemical batch-level testing and
         verification of the chemical content of batches of pharmaceuticals of drugs and, while
         these regulations are pending, issue guidance requesting such testing and verification.

Background on Petitioner
Valisure is an online pharmacy currently licensed in 37 states and an analytical laboratory that is
ISO 17025 accredited by the International Organization for Standardization (“ISO”). Valisure is
registered with the Drug Enforcement Administration (Pharmacy: FV7431137, Laboratory:
RV0484814) and the FDA (FEI #: 3012063246). Valisure’s mission is to help ensure the safety,
quality and consistency of medications and supplements in the market. In response to rising
concerns about counterfeit medications, generics, and overseas manufacturing, Valisure
developed proprietary analytical technologies that it uses in addition to FDA standard assays to
test every batch of every medication it dispenses.
In an August 7, 2018, inspection of Valisure’s facilities by the FDA, it was determined that since
Valisure’s unique testing facility is not a part of the pharmaceutical manufacturing system and
does not perform release testing, stability testing or any related services for pharmaceutical
manufacturers, Valisure did not require FDA registration. However, Valisure has elected to
maintain voluntary registration status with the FDA. Valisure also received guidance that since
it operates outside of the manufacturing industry using the appropriate ISO guidelines as
opposed to GMPs, any product failures or concerns that Valisure identifies should be reported
back to the pharmaceutical industry. Valisure has complied with this guidance and regularly
provides reports to applicable parties in the pharmaceutical industry.

As discussed below, given the increased risk to public safety, the concern of medical
practitioners regarding DMF in pharmaceuticals, and the fact that FDA did not amend the
acceptable intake of DMF or take other appropriate action following the chemical’s
reclassification to Group 2A status by WHO and IARC, Valisure seeks to utilize this Citizen
Petition to bring these concerns directly to the attention of the Commissioner and the FDA, and
request that they take action.
                                       B. Statement of Grounds

DMF is classified by the FDA as a Class 2 solvent2 and is commonly used in the production of
pharmaceutical active ingredients. According to the FDA, Class 2 solvents “should be limited in
pharmaceutical products because of their inherent toxicity.”3

2
  Food and Drug Administration, Q3C – Tables and List (June 2017), page 3
(https://www.fda.gov/media/71737/download) .
3
  Id. at 6.



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In the recent wave of ARB recalls due to the discovery of probable human carcinogens, it has
become apparent that the switch in the manufacturing industry to the use of the DMF solvent
may be largely responsible for the formation of nitrosamine carcinogens such as N-
nitrosodimethylamine (“NDMA”) and N-nitrosodiethylamine (“NDEA”).4 The carcinogenic
nature of nitrosamines in general, and specifically NDMA and NDEA, has been well
characterized in the scientific community since as early as the 1960s.5 The WHO and the IARC
have classified both NDMA and NDEA as Group 2A compounds thereby defining them as
“probably carcinogenic to humans.”6 The FDA currently recognizes the danger of such
compounds and, as a result, has set strict daily acceptable intake limits on NDMA and NDEA in
pharmaceuticals of 96 nanograms and 26.5 nanograms respectively.7 There have been a
multitude of manufacturer recalls of ARB medications, including valsartan, due to the detection
of NDMA and NDEA contamination in excess of these limits.8

Despite the very strict FDA recommendations for daily limits of NDMA and NDEA, the
chemical DMF, which since 2018 has shared the same Group 2A carcinogenicity classification,9
currently has an FDA permitted daily exposure limit of 8,800,000 nanograms,10 which is
9,166,667% higher than the acceptable intake limit of NDMA. This disparity lacks a rational
basis and is of significant concern, particularly because of Valisure’s recent findings that high
levels of DMF exist in certain on-market lots of valsartan medication.

Consistent with the revised designation by WHO and IARC to Group 2A, DMF was listed in late
2017 as a cancer-causing chemical by California for the purposes of Proposition 65.11 A review

4
  See Parr, M.K. and Joseph, J.F., NDMA Impurity in Valsartan and Other Pharmaceutical Products: Analytical
Methods for the Determination of N-Nitrosamines, J. Pharm. Biomed. Anal. 164: 536 (February 2019)
(https://www.ncbi.nlm.nih.gov/pubmed/30458387).
5
  E.g., Argus, M.F. and Hoch-Ligeti, C., Comparative Study of the Carcinogenic Activity of Nitrosamines, JNCI:
Journal of the National Cancer Institute 27: 695 (September 1961) (https://academic.oup.com/jnci/article-
abstract/27/3/695/958026).
6
  International Agency for Research on Cancer and World Health Organization, IARC Monographs on the
Identification of Carcinogenic Hazards to Humans, Volume 17, Supp. 7 (1987) (https://monographs.iarc.fr/list-of-
classifications-volumes/) and Preamble to IARC Monographs on the Identification of Carcinogenic Hazards to
Humans (2019) ( https://monographs.iarc.fr/wp-content/uploads/2019/01/Preamble-2019.pdf).
7
  Food and Drug Administration, FDA updates table of interim limits for nitrosamine impurities in ARBs, (February
28, 2019) (https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-and-press-announcements-
angiotensin-ii-receptor-blocker-arb-recalls-valsartan-losartan).
8
  See Food and Drug Administration, Search List of Recalled Angiotensin II Receptor Blockers (ARBs) Including
Valsartan, Losartan and Irbesartan (https://www.fda.gov/drugs/drug-safety-and-availability/search-list-recalled-
angiotensin-ii-receptor-blockers-arbs-including-valsartan-losartan-and).
9
  International Agency for Research on Cancer and World Health Organization, IARC Monographs on the
Identification of Carcinogenic Hazards to Humans, Volume 47, 71, 115 (2018) (https://monographs.iarc.fr/list-of-
classifications-volumes/).
10
   Food and Drug Administration, Q3C – Tables and List (June 2017), page 3
(https://www.fda.gov/media/71737/download).
11
   California Office of Environmental Health Hazard Assessment, Dimethylformamide (October 2017)
(https://oehha.ca.gov/chemicals/dimethylformamide).



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by the California Environmental Protection Agency had expressed concern regarding the
potential genotoxicity and permeation-enhancing activity of DMF whereby it “may act as an
escort to facilitate the easy entry of either endogenous or exogenous carcinogens.”12 Considering
that valsartan has on many occasions been found to contain other probable human carcinogens
like NDMA and NDEA, the presence of DMF could serve to further exacerbate even low levels
of such carcinogens, which have also been found in Valisure’s analysis of the same lots
containing DMF. The results of Valisure’s testing of valsartan lots is set forth below.

This data is of significant concern to medical practitioners who already struggle to prescribe safe
medications and who rely on external government and private sector oversight to ensure
contaminant-free drugs. Due to its discovery of significant levels of DMF contamination,
Valisure’s pharmacy will no longer sell the affected lots of valsartan it has acquired, nor can it
obtain a refund for these tainted products because they technically conform with the very high
permitted daily exposure limit for DMF in published FDA guidance.

DMF is categorized by the FDA as a Class 2 solvent with a permitted daily exposure limit of
8,800,000 nanograms. Given the recent implication of DMF in the ARB recalls and the
increased industry scrutiny of related chemicals, Petitioner notes that the WHO and IARC
reclassified DMF to Group 2A probable carcinogen status in 2018 (see Attachment A), while the
most recent revision of the FDA regulation of residual solvents is dated July 2017. As this
Group 2A carcinogen status is a relatively new development, Petitioner urges the Commissioner
and the FDA to expeditiously reevaluate the current permitted daily exposure limits on DMF and
significantly lower them so that this probable carcinogen is not present in significant amounts in
the American drug supply, and to take other such actions outlined in this Petition as deemed
appropriate.

Permitted Daily Exposure Limit Revision

Petitioner requests that the FDA take the rational approach of benchmarking permitted daily
exposure limits against other Group 2A compounds like the nitrosamines NDMA and NDEA.
NDMA is particularly relevant in this case given its connection to the use of DMF as a solvent in
Active Pharmaceutical Ingredient (“API”) industry manufacturing and that at least in the case of
valsartan, both NDMA and DMF often co-contaminate tablets. FDA should revise the DMF
permitted daily exposure limit for pharmaceutical products to allow less than 1,000 nanograms
and potentially as low as 96 nanograms.

As set forth in the summary table below, Petitioner has detected high levels of DMF in specific
lots of valsartan and undetectable levels of DMF in others. Petitioner’s pharmacy acquired
medications from the manufacturers reasonably available to it through its distributors. Valisure’s
ISO 17025 accredited laboratory used FDA recommended GC/MS headspace analysis method

12
  California Environmental Protection Agency, Evidence on the Carcinogenicity of N,N-Dimethylformamide (Draft)
(August 2008), page 31 (https://oehha.ca.gov/media/downloads/proposition-65/chemicals/dmfhid080808.pdf).



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FY19-005-DPA13 for the determination of DMF levels. Certified reference material was used for
DMF calibration and deuterated DMF used as an internal control.



     API                  Distributor    Dose (mg)          Lot         NDMA (ng)       DMF (ng)

     Valsartan              Alembic          40        1805007840           < 25           107
     Valsartan              Alembic          80        1805007896       not detected        62
     Valsartan              Alembic         160        1805007540       not detected   not detected
     Valsartan              Alembic         160        1805008342       not detected   not detected
     Valsartan              Alembic         320        1805009609       not detected   not detected
     Valsartan              Amneal           80        BG15818A             < 25           207
     Valsartan              Amneal          160        BG16018A             < 25           179
     Valsartan             Aurobindo         40       VUSA18001-A           < 25           210
     Valsartan             Aurobindo         40       VUSA18009-A           < 25           206
     Valsartan             Aurobindo         80       VUSB18001-A           < 25           209
     Valsartan             Aurobindo         80       VUSB18013-A           < 25           268
     Valsartan             Aurobindo        160       VUSC18005-A       not detected       470
     Valsartan             Aurobindo        160       VUSC18007-B           < 25           197
     Valsartan             Aurobindo        320       VUSD18007-A           < 25           376
     Valsartan             Aurobindo        320       VUSD18021-A           < 25           212
     Valsartan              Cadista          40        VR119002A        not detected        51
     Valsartan              Cadista          40        VR119003A        not detected   not detected
     Valsartan              Cadista          80        VR218026A        not detected   not detected
     Valsartan              Cadista         160        VR318P007        not detected   not detected
     Valsartan              Cadista         160        VR318P006        not detected   not detected
     Valsartan              Cadista         320        VR418051A        not detected   not detected
     Valsartan              Cadista         320        VR419008A        not detected   not detected
     Valsartan             Macleods          40         EVF804A             < 25          4,091
     Valsartan             Macleods          40         EVF903A             < 25          5,222
     Valsartan             Macleods          80         EVG803A             < 25         10,708
     Valsartan             Macleods         160         EVH805A              29          17,268
     Valsartan             Macleods         320         EVI807A              37          31,195
     Valsartan             Macleods         320         EVI818A              28          76,460
     Valsartan              Novartis         40         AH1207H             < 25           353
     Valsartan-HCTZ         Alembic       320-12.5     1805010695           132            982
     Valsartan-HCTZ        Aurobindo      320-12.5    HRSA18037-A           < 25           746
     Valsartan-HCTZ          Lupin        320-12.5      G802870             < 25           997


13
  Food and Drug Administration, Combined N-Nitrosodimethlyamine (NDMA) and N-Nitrosodiethylamine (NDEA)
Impurity Assay, FY19-005-DPA-S (January 2019) (https://www.fda.gov/media/117843/download).


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   Valsartan-HCTZ         Macleods     320-12.5         BVO829A          52             82,285
   Valsartan-HCTZ         Novartis     320-12.5         AG9492E         < 25             204

       Table 1. NDMA and DMF amounts reported are average values for multiple single-
       tablets measurements. Appendix A contains a table of all individual tablet results. “< 25”
       indicates detectable amounts were observed below the lowest calibration point.

Recall Request and Other Actions
This Petition seeks to have the Commissioner and FDA request recalls for the identified lots of
valsartan, consistent with FDA’s mandate to ensure the safety of the drug supply in America.
The following lots of valsartan contained elevated levels of DMF detected during testing by
Valisure’s laboratory.

                                                                           Expiration
         API                  Distributor   Dose (mg)         Lot            Dates
         Valsartan             Alembic         40          1805007840          Jun-20
         Valsartan             Amneal          80          BG15818A            Jul-20
         Valsartan             Amneal         160          BG16018A            Jul-20
         Valsartan            Aurobindo        40         VUSA18001-A          Jul-21
         Valsartan            Aurobindo        40         VUSA18009-A          Sep-21
         Valsartan            Aurobindo        80         VUSB18001-A          Jun-21
         Valsartan            Aurobindo        80         VUSB18013-A          Sep-21
         Valsartan            Aurobindo       160         VUSC18005-A          Jun-21
         Valsartan            Aurobindo       160         VUSC18007-B          Jul-21
         Valsartan            Aurobindo       320         VUSD18007-A          Jul-21
         Valsartan            Aurobindo       320         VUSD18021-A          Sep-21
         Valsartan            Macleods         40           EVF804A            Jul-20
         Valsartan            Macleods         40           EVF903A            Feb-21
         Valsartan            Macleods         80           EVG803A            Jul-20
         Valsartan            Macleods        160           EVH805A            Aug-20
         Valsartan            Macleods        320           EVI807A            Aug-20
         Valsartan            Macleods        320           EVI818A            Nov-20
         Valsartan             Novartis        40           AH1207H            Jun-20
         Valsartan-HCTZ        Alembic      320-12.5       1805010695          Aug-21
         Valsartan-HCTZ       Aurobindo     320-12.5      HRSA18037-A          Oct-21
         Valsartan-HCTZ         Lupin       320-12.5        G802870            Feb-20
         Valsartan-HCTZ       Macleods      320-12.5        BVO829A            Sep-21
         Valsartan-HCTZ        Novartis     320-12.5        AG9492E            Mar-20




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       Table 2. Medication lots highlighted in yellow represent particularly high levels of DMF
       contamination in the thousands and tens of thousands of nanograms and red highlighting
       indicates NDMA levels in excess of the FDA 96 nanogram daily acceptable intake limit.

The impact of such recalls is important for public safety and is not expected to create significant
drug shortages or otherwise overly burden the U.S. healthcare system. As indicated above, in
Valisure’s analysis of multiple manufacturers, it was shown that multiple manufacturers of on-
market valsartan have produced lots that do not contain detectable levels of the DMF
contaminant.

In addition, for the reasons stated above, FDA should conduct examinations and investigation
under Section 702 (a) of the FDCA (21 U.S.C. § 372(a)) regarding these products, their
manufacturing processes, and the manufacturer submissions made for FDA approval under 704
(a)of the FDCA (21 U.S.C. § 374(a)) and effect labeling revisions as needed. Further, FDA
should provide information to the public regarding these medications under Section 705(b) of the
FDCA (21 U.S.C. § 375(b)).

Batch-level Testing and Verification of Drug Products in the United States

Petitioner is also requesting that the FDA promulgate regulations requiring robust independent
chemical batch-level testing and verification of medications. In the interim, while these
regulations are pending, FDA should issue formal guidance recommending such testing and
verification.

This is necessary in order to serve public health and help protect Americans from adulterated
drug products, an issue of growing concern. Grounds for this request are also rooted in strong
support from the medical community, as evidenced by a recent resolution from the American
College of Cardiology (“ACC”), calling for the American Medical Association to advocate for
legislation requiring independent testing and verification of the chemical content of batches of
pharmaceuticals. The resolution is at Attachment B.

                                   C. Environmental Impact

Petitioner claims a categorical exclusion under 21 C.F.R. § 25.31, and believes that this
Petition qualifies for a categorical exclusion from the requirement to submit an environmental
assessment or environmental impact statement. To Petitioner’s knowledge, no extraordinary
circumstances exist.
                                      D. Economic Impact

Pursuant to 21 C.F.R. § 10.30(b), economic impact information will be submitted by the
Petitioner only upon request of the Commissioner following review of this Petition.




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                                        E. Certification

The undersigned certifies that, to the best knowledge and belief of the undersigned, this
petition includes all the information and views on which the petition relies, and that it includes
representative data and information known to the petitioner which are unfavorable to the petition.

       Respectfully submitted,




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                                         Appendix A

The table below represents results from individual tablets analyzed by Valisure and summarized
in the above petition in Table 1.

        API          Distributor         MG             LOT           NDMA (ng)       DMF (ng)
     Valsartan        Alembic            160         1805007540      not detected    not detected
     Valsartan        Alembic            160         1805007540      not detected    not detected
     Valsartan        Alembic            160         1805007540      not detected    not detected
     Valsartan        Alembic            160         1805007540      not detected    not detected
     Valsartan        Alembic            40          1805007840      not detected          8
     Valsartan        Alembic            40          1805007840      not detected    not detected
     Valsartan        Alembic            40          1805007840      not detected         32
     Valsartan        Alembic            40          1805007840      not detected    not detected
     Valsartan        Alembic            40          1805007840      not detected        169
     Valsartan        Alembic            40          1805007840      not detected         68
     Valsartan        Alembic            40          1805007840            8             472
     Valsartan        Alembic            80          1805007896      not detected         45
     Valsartan        Alembic            80          1805007896      not detected    not detected
     Valsartan        Alembic            80          1805007896      not detected    not detected
     Valsartan        Alembic            80          1805007896      not detected    not detected
     Valsartan        Alembic            80          1805007896      not detected        251
     Valsartan        Alembic            80          1805007896      not detected        152
     Valsartan        Alembic            80          1805007896      not detected         46
     Valsartan        Alembic            80          1805007896      not detected    not detected
     Valsartan        Alembic            160         1805008342      not detected    not detected
     Valsartan        Alembic            160         1805008342      not detected    not detected
     Valsartan        Alembic            160         1805008342      not detected    not detected
     Valsartan        Alembic            160         1805008342      not detected    not detected
     Valsartan        Alembic            320         1805009609      not detected    not detected
     Valsartan        Alembic            320         1805009609      not detected    not detected
     Valsartan        Alembic            320         1805009609      not detected    not detected
     Valsartan        Alembic            320         1805009609      not detected    not detected
     Valsartan        Novartis           40           AH1207H             11             341
     Valsartan        Novartis           40           AH1207H        not detected        278
     Valsartan        Novartis           40           AH1207H        not detected        341
     Valsartan        Novartis           40           AH1207H             17             452
     Valsartan        Amneal             80           BG15818A            12             212
     Valsartan        Amneal             80           BG15818A       not detected        193
     Valsartan        Amneal             80           BG15818A       not detected        165
     Valsartan        Amneal             80           BG15818A             8             257
     Valsartan        Amneal             160          BG16018A            11             474


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     Valsartan       Amneal            160         BG16018A       not detected           227
     Valsartan       Amneal            160         BG16018A       not detected            17
     Valsartan       Amneal            160         BG16018A       not detected       not detected
     Valsartan       Macleods          40           EVF804A            13               3,646
     Valsartan       Macleods          40           EVF804A            18               3,884
     Valsartan       Macleods          40           EVF804A       not detected          5,683
     Valsartan       Macleods          40           EVF804A            11               3,605
     Valsartan       Macleods          40           EVF804A       not detected          3,636
     Valsartan       Macleods          40           EVF903A            22               4,418
     Valsartan       Macleods          40           EVF903A            16               4,717
     Valsartan       Macleods          40           EVF903A            22               6,774
     Valsartan       Macleods          40           EVF903A            11               4,906
     Valsartan       Macleods          40           EVF903A            12               5,296
     Valsartan       Macleods          80           EVG803A            25               8,746
     Valsartan       Macleods          80           EVG803A            30               13,463
     Valsartan       Macleods          80           EVG803A            11               12,503
     Valsartan       Macleods          80           EVG803A            17               10,026
     Valsartan       Macleods          80           EVG803A            15               8,800
     Valsartan       Macleods          160          EVH805A            33               14,627
     Valsartan       Macleods          160          EVH805A            43               21,762
     Valsartan       Macleods          160          EVH805A            13               19,419
     Valsartan       Macleods          160          EVH805A            30               15,184
     Valsartan       Macleods          160          EVH805A            28               15,347
     Valsartan       Macleods          320          EVI807A            21               35,803
     Valsartan       Macleods          320          EVI807A            38               26,334
     Valsartan       Macleods          320          EVI807A            46               27,466
     Valsartan       Macleods          320          EVI807A            51               33,566
     Valsartan       Macleods          320          EVI807A            29               27,479
     Valsartan       Macleods          320          EVI807A            39               36,520
     Valsartan       Macleods          320          EVI818A            25               64,711
     Valsartan       Macleods          320          EVI818A            30               69,805
     Valsartan       Macleods          320          EVI818A            29               70,976
     Valsartan       Macleods          320          EVI818A            35              100,953
     Valsartan       Macleods          320          EVI818A            23               74,796
     Valsartan       Macleods          320          EVI818A            24               77,518
     Valsartan        Cadista          40          VR119002A      not detected           113
     Valsartan        Cadista          40          VR119002A      not detected            47
     Valsartan        Cadista          40          VR119002A      not detected            34
     Valsartan        Cadista          40          VR119002A      not detected            12
     Valsartan        Cadista          40          VR119003A      not detected       not detected
     Valsartan        Cadista          40          VR119003A      not detected       not detected



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     Valsartan        Cadista          80          VR218026A      not detected       not detected
     Valsartan        Cadista          80          VR218026A      not detected       not detected
     Valsartan        Cadista          80          VR218026A      not detected       not detected
     Valsartan        Cadista          80          VR218026A      not detected       not detected
     Valsartan        Cadista          160         VR318P007      not detected       not detected
     Valsartan        Cadista          160         VR318P007      not detected       not detected
     Valsartan        Cadista          160         VR318P007      not detected       not detected
     Valsartan        Cadista          160         VR318P007      not detected       not detected
     Valsartan        Cadista          160         VR318P006      not detected       not detected
     Valsartan        Cadista          160         VR318P006      not detected       not detected
     Valsartan        Cadista          320         VR418051A      not detected       not detected
     Valsartan        Cadista          320         VR418051A      not detected       not detected
     Valsartan        Cadista          320         VR418051A      not detected       not detected
     Valsartan        Cadista          320         VR418051A      not detected       not detected
     Valsartan        Cadista          320         VR419008A      not detected       not detected
     Valsartan        Cadista          320         VR419008A      not detected       not detected
     Valsartan        Cadista          320         VR419008A      not detected       not detected
     Valsartan        Cadista          320         VR419008A      not detected       not detected
     Valsartan       Aurobindo         40         VUSA18001-A          15                481
     Valsartan       Aurobindo         40         VUSA18001-A           3                109
     Valsartan       Aurobindo         40         VUSA18001-A     not detected           173
     Valsartan       Aurobindo         40         VUSA18001-A     not detected            76
     Valsartan       Aurobindo         40         VUSA18009-A           9                252
     Valsartan       Aurobindo         40         VUSA18009-A          28                388
     Valsartan       Aurobindo         40         VUSA18009-A          10                 35
     Valsartan       Aurobindo         40         VUSA18009-A          16                151
     Valsartan       Aurobindo         80         VUSB18001-A           9                329
     Valsartan       Aurobindo         80         VUSB18001-A     not detected           175
     Valsartan       Aurobindo         80         VUSB18001-A     not detected           146
     Valsartan       Aurobindo         80         VUSB18001-A          11                186
     Valsartan       Aurobindo         80         VUSB18013-A          21                549
     Valsartan       Aurobindo         80         VUSB18013-A          27                246
     Valsartan       Aurobindo         80         VUSB18013-A          15                 73
     Valsartan       Aurobindo         80         VUSB18013-A          17                204
     Valsartan       Aurobindo         160        VUSC18005-A     not detected           577
     Valsartan       Aurobindo         160        VUSC18005-A     not detected           545
     Valsartan       Aurobindo         160        VUSC18005-A     not detected           344
     Valsartan       Aurobindo         160        VUSC18005-A     not detected           416
     Valsartan       Aurobindo         160        VUSC18007-B     not detected           268
     Valsartan       Aurobindo         160        VUSC18007-B     not detected           210
     Valsartan       Aurobindo         160        VUSC18007-B           8                168



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     Valsartan       Aurobindo         160        VUSC18007-B     not detected         144
     Valsartan       Aurobindo         320        VUSD18007-A           6              330
     Valsartan       Aurobindo         320        VUSD18007-A     not detected         392
     Valsartan       Aurobindo         320        VUSD18007-A     not detected         304
     Valsartan       Aurobindo         320        VUSD18007-A     not detected         476
     Valsartan       Aurobindo         320        VUSD18021-A           6              256
     Valsartan       Aurobindo         320        VUSD18021-A     not detected         219
     Valsartan       Aurobindo         320        VUSD18021-A           9              167
     Valsartan       Aurobindo         320        VUSD18021-A           8              206
  Valsartan-HCTZ      Alembic       320-12.5       1805010695         140              675
  Valsartan-HCTZ      Alembic       320-12.5       1805010695         115              887
  Valsartan-HCTZ      Alembic       320-12.5       1805010695          93             1,169
  Valsartan-HCTZ      Alembic       320-12.5       1805010695         180             1,195
  Valsartan-HCTZ      Novartis      320-12.5        AG9492E            14              147
  Valsartan-HCTZ      Novartis      320-12.5        AG9492E            12              272
  Valsartan-HCTZ      Novartis      320-12.5        AG9492E            13              185
  Valsartan-HCTZ      Novartis      320-12.5        AG9492E            13              144
  Valsartan-HCTZ      Novartis      320-12.5        AG9492E            14              317
  Valsartan-HCTZ      Novartis      320-12.5        AG9492E            13              258
  Valsartan-HCTZ      Novartis      320-12.5        AG9492E            14              105
  Valsartan-HCTZ     Macleods       320-12.50       BVO829A            59             93,825
  Valsartan-HCTZ     Macleods       320-12.50       BVO829A            47             69,970
  Valsartan-HCTZ     Macleods       320-12.50       BVO829A            50             83,060
  Valsartan-HCTZ       Lupin        320-12.5        G802870             7              942
  Valsartan-HCTZ       Lupin        320-12.5        G802870            13             1,097
  Valsartan-HCTZ       Lupin        320-12.5        G802870             9              880
  Valsartan-HCTZ       Lupin        320-12.5        G802870            13             1,069
  Valsartan-HCTZ     Aurobindo      320-12.5      HRSA18037-A           8              635
  Valsartan-HCTZ     Aurobindo      320-12.5      HRSA18037-A          15              780
  Valsartan-HCTZ     Aurobindo      320-12.5      HRSA18037-A          11              707
  Valsartan-HCTZ     Aurobindo      320-12.5      HRSA18037-A          16              861




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